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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 OAK FINANCIAL GROUP, INC.,
                                                                        Case No.: 1:21-cv-03249-FB-MMH

                                    Plaintiff,

                  -v-

 INFINITY Q DIVERSIFIED ALPHA FUND, TRUST
 FOR ADVISED PORTFOLIOS, INFINITY Q                                     AMENDED COMPLAINT
 CAPITAL MANAGEMENT LLC, CHRISTOPHER
 E. KASHMERICK, JOHN C. CHRYSTAL, ALBERT
 J. DIULIO, S.J., HARRY E. RESIS, RUSSEL B.
 SIMON, STEVEN J. JENSON, JAMES VELISSARIS,
 LEONARD POTTER, SCOTT LINDELL, QASAR
 DISTRIBUTORS, LLC, EISNERAMPER LLP,
 BONDERMAN FAMILY LIMITED PARTNERSHIP,
 LP, INFINITY Q MANAGEMENT EQUITY, LLC
 and U.S. BANCORP FUND SERVICES, LLC.

                                     Defendants.
 -------------------------------------------------------------------x

         Plaintiff Oak Financial Group, Inc., by its attorneys, Rosenfeld & Kaplan, LLP, for its

 Complaint against defendants Infinity Q Diversified Alpha Fund, Trust for Advised Portfolios,

 Infinity Q Capital Management LLC, Christopher E. Kashmerick, John C. Chrystal, Albert J.

 DiUlio, S.J., Harry E. Resis, Russel B. Simon, Steven J. Jenson, James Velissaris, Leonard

 Potter, Scott Lindell, Quasar Distributors, LLC, EisnerAmper LLP, Bonderman Family Limited

 Partnership, LP, Infinity Q Management Equity, LLC and U.S. Bancorp Fund Services, LLC.,

 alleges as follows:

                                        NATURE OF THE ACTION

         1.       This is a federal securities action brought by Plaintiff Oak Financial Group, Inc.

 (“Plaintiff” or “Oak Financial”), an investment adviser which, on behalf of its clients (the

 “Account Holders”), purchased the Infinity Q Diversified Alpha Fund Institutional Class shares
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 (IQDNX) (the “Diversified Fund”) between October 27, 2015 and August, 2020. Plaintiff seeks

 to recover compensable damages caused by the defendants’ violations of the federal securities

 laws, as well as under the common law of the State of New York.

            2.        This case arises from the collapse of the Diversified Fund that suffered massive

 losses following a forced liquidation by the SEC due to, inter alia, defendants’: (a) manipulation

 of the pricing methodology for the Funds’ assets; (b) failure to employ the valuation

 methodologies and internal controls, polices, and procedures represented to investors; and (c)

 material overstatement of the Funds’ net asset value (“NAV”). 1 The Diversified Fund and other

 Infinity Q Funds were marketed to investors seeking moderate growth and asymmetric returns

 through a “swap” strategy that would purportedly preserve capital and avoid the massive risks of

 aggressive hedge funds seeking greater returns. Swaps are bilateral contracts, brokered by

 banks, that traders use to bet on asset prices, interest rates, or other financial trends.

            3.        Infinity Q attracted billions of dollars of investments and boasted of its close

 connection between Infinity Q and its Chief Investment Officer (“CIO”) Velissaris, and the

 private equity billionaire David Bonderman, the founding partner of private-equity giant TPG.

            4.        A now-archived version of Infinity Q’s website states that Infinity Q was

 “managed by David Bonderman’s family office.”

            5.        The Infinity Q website highlighted its connection with Bonderman:

                      Infinity Q Capital Management is a pioneering investment
                      advisor managed by David Bonderman’s family office. The
                      investment team at Infinity Q develops next generation forecasting
                      models to identify persistent behavioral biases across global
                      markets. Infinity Q uses volatility strategies to manage mutual
                      funds, hedge funds and separately managed accounts.




 1
     NAV equals the total value of the cash and securities in a fund, less any liabilities..


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        6.      Wildcat Capital Management and Infinity Q were managed by overlapping

 personnel, employing similar investment strategies, and being run out of the same offices. The

 Diversified Fund’s Annual Reports to Shareholders touted the Diversified Fund’s close

 association with Wildcat Capital Management, affiliation with Bonderman, and ability to provide

 exposure to alternative strategies used by hedge fund and private equity investors like

 Bonderman.

        7.      The “alternative strategies” referred, in large part, to investments in total return

 swaps. Total return swaps are contracts by which parties agree to exchange sums equal to the

 income streams produced by specified assets (hereinafter, “swap contracts”).

        8.      Because the value of swap contracts can depend on a variety of factors, they have

 the potential to offer returns that do not move in synch with overall stock and bond markets.

 Swap contracts can also be difficult to value. For this reason, Infinity Q purportedly relied on

 models provided by third-party pricing services to determine the value of certain of the Funds’

 swap contracts for the purpose of calculating the daily NAV. Indeed, all of the Funds’ swap

 contracts were categorized as Levels 2 and 3 on the Financial Accounting Standards Board

 (“FASB”) pricing hierarchy, meaning that their valuations carried the highest amounts of risk

 and uncertainty.

        9.      Although the offering materials for the Diversified Fund and other Infinity Q

 Funds provided boilerplate risk disclosures, including potential risks associated with “Models

 and Data,” “Manger Risk,” “valuation” risk, and “Misconduct of Infinity Q Personnel Third-

 Party Service Providers,” the materials failed to disclose any known risk that the valuations

 could be based, in part, on third-party valuation models that had been intentionally manipulated

 by Infinity Q. Using these manipulated valuations, defendants successfully caused Infinity Q to




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 show hundreds of millions of dollars in exaggerated gains, creating a false record of success that

 Infinity Q in turn used to charge inflated fees, induce existing pool participants to commit

 additional monies, and lure in new participants.

        10.     Instead of disclosing the infirmities with their valuation protocols, the marketing

 materials instead boasted of the purportedly robust valuation, procedures, methodologies, and

 controls employed by each of the Funds to ensure accurate NAV pricing that reflected the true

 value of the Funds’ assets and that were subject to vigorous oversight and cross checks to ensure

 pricing integrity. Similarly, the offering materials omitted and failed to disclose the material risk

 that investors faced catastrophic losses of their capital investment due to improper valuations of

 the Funds’ large swap and derivatives portfolio.

        11.     During the period relevant to this Complaint (the “Relevant Period”), Infinity Q’s

 personnel engaged in systematic remarking of the of the Diversified Fund’s and other Infinity Q

 Funds’ assets in order to make the NAV of those funds appear artificially higher. The Infinity Q

 Funds have subsequently admitted that a significant portion of the portfolios were deliberately

 mismarked for an extended period.

        12.     In May 2020, the SEC’s Division of Enforcement launched an inquiry into

 Infinity Q’s securities valuation practices. By November 2020, the SEC’s investigation had

 expanded to include U.S. Bancorp. Because of the ongoing valuation issues, Infinity Q

 announced at the end of December 2020 that it would no longer accept new investments, but

 concealed the basis for that decision and the ongoing problems.

        13.     In February 2021, the SEC informed Infinity Q that the Funds should enter

 liquidation proceedings immediately given the extent of the valuation issues.




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           14.   On or around February 22, 2021, Infinity Q halted redemptions to investors,

 saying it could no longer value its holdings after at least two whistleblowers raised concerns

 about the Funds to the SEC. The SEC informed Infinity Q of evidence that the firm’s CIO,

 defendant Velissaris, had manipulated parameters of third-party pricing models used to value its

 derivatives, leaving Infinity Q unable to accurately value its holdings. Infinity Q also announced

 that it had barred Velissaris from trading, placed him on administrative leave, and needed to

 reassess the Funds’ previous valuations before returning money to investors.

           15.   Infinity Q admitted that “it was unable to verify that the values it had previously

 determined for the Swaps were reflective of fair value.” Infinity Q further admitted that it was

 unable to verify whether the values for positions other than swaps were reliable, and that it could

 not calculate an NAV that would enable it to satisfy requests for redemptions of the Funds’

 shares.

           16.   Infinity Q thereafter requested that the SEC halt redemptions from the Diversified

 Fund. The SEC thereupon indefinitely halted redemptions in the Diversified Fund’s shares the

 same day as requested, effective as of February 19, 2021.

           17.   On March 11, 2021, the Diversified Fund’s website provided an update on the

 liquidation effort announced in February. The Diversified Fund stated that, as of two days

 earlier, the Diversified Fund held a total of approximately $1.2 billion in cash or cash

 equivalents, which was over $500 million less than the NAV that the Diversified Fund had

 calculated just a few weeks before. According to a derivative complaint filed in Delaware

 Chancery Court, Infinity Q attributed the Diversified Fund’s “losses almost entirely to the ‘value

 realized on liquidation of the Fund’s [swap instruments] compared to their [last] stated value.’ In




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 other words, the principal securities [defendants] had been tasked with valuing were, in reality,

 worth pennies on the dollar.”

          18.      On June 7, 2021, the Diversified Funds submitted a Plan of Distribution (the

 “Plan”) to the SEC. 2 The Plan, which was finalized on November 8, 2021, called for an interim

 distribution of $500 million to shareholders on a pro rata basis. The Plan also established a

 Special Reserve, holding back $750 million until the Diversified Fund’s liabilities were

 resolved. 3

          19.      On February 17, 2022, defendant Velissaris was indicted by the United States

 Department of Justice (“DOJ”) for securities fraud and obstruction of justice for orchestrating a

 scheme to deceive the Funds’ investors and falsify documents. On the same day, both the SEC

 and the Commodity Futures Trading Commission (“CFTC”) civilly charged Velissaris with, inter

 alia, fraud for overvaluing the Funds’ assets by more than $1 billion while pocketing tens of

 millions of dollars in fees. The SEC’s complaint alleged that, from at least 2017 through

 February 2021, Velissaris engaged in a fraudulent scheme to overvalue assets held by both the

 Diversified Fund and the Volatility Fund. According to the complaint, Velissaris executed the

 overvaluation scheme by altering inputs and manipulating the code of a third-party pricing

 service used to value the Funds’ assets. Moreover, Velissaris falsely showed gains on hundreds

 of swaps held by two commodity pools managed by Infinity Q, a CFTC-registered commodity

 pool operator. The SEC also alleged that, by masking actual performance, Velissaris sought to

 thwart redemptions by investors who likely would have requested a return of their money had

 they known the Funds’ actual performance, particularly in the volatile markets in the wake of the


 2
  See https://www.infinityqfundliquidation.com/documents.
 3
  According to the most recent shareholder update, as of July 31, 2022, the Diversified Fund’s total assets were
 $579,490,181. The amount remaining in the Special Reserve was $568,265,116. See
 https://www.infinityqfundliquidation.com/operatingreport.


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 COVID-19 pandemic. The SEC complaint further alleged that at times during the pandemic, the

 Funds’ actual values were half of what investors were told.

        20.     As a result of these egregious acts, the Diversified Funds’ investors, including the

 Plaintiff and each of its customers, have been unable to withdraw their money from the Funds.

                                  JURISDICTION AND VENUE

        21.     The claims asserted herein arise under and pursuant to §§ 10-b and 20(a) of the

 Securities Exchange Act of 1934, as amended (the “Exchange Act”), and the rules and

 regulations promulgated thereunder, and §§ 11, 12(a), and 15 of the Securities Act of 1933, as

 amended (the “Securities Act”), and the common law of the State of New York.

        22.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

 § 1331, and pursuant to § 22 of the Securities Act and § 27 of the Exchange Act.

        23.     Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b) as the

 alleged misstatements occurred and subsequent damages took place within this judicial district,

 and pursuant to § 22 of the Securities Act and § 27 of the Exchange Act.

        24.     In connection with the acts, conduct and other wrongs alleged in this Complaint,

 the defendants, directly or indirectly, used the means and instrumentalities of interstate

 commerce, including but not limited to, the United States mail, interstate telephone

 communications and the facilities of the national securities exchange.

                                             PARTIES

        25.     Plaintiff Oak Financial, a Connecticut corporation, is a SEC registered investment

 adviser that, among other things, provides investment management services to its clients. Oak

 Financial brings this lawsuit to recover damages sustained by a group of its clients holding 257




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 accounts (the “Account Holders”), on whose behalf Oak Financial invested in Infinity Q

 Diversified Alpha Fund.

         26.     Oak Financial entered into an advisory agreement with each of the Account

 Holders, pursuant to which they granted Oak Financial authority to manage their funds through

 Charles Schwab accounts in the Account Holders’ names, and to invest those funds and make

 trades at their full discretion.

         27.     Each of the Account Holders has assigned to Oak Financial their right, title and

 interest in any claim of any nature whatsoever related to or arising out of their purchase of any

 shares or ownership of any interest in the Infinity Q Diversified Alpha Fund, as well as any and

 all rights to initiate, pursue, prosecute, collect, settle, and compromise any suits, actions,

 proceedings, and/or claims of any nature whatsoever arising out of or in connection with their

 investment in Infinity Q Diversified Alpha Fund.

         28.     Defendant Infinity Q Diversified Alpha Fund (the “Diversified Fund”) is a

 diversified open-end investment company. It transacts business in New York.

         29.     Defendant Trust for Advised Portfolios (the “Trust”), the Diversified Fund’s

 registrant, is a Delaware statutory trust registered with the SEC under the Investment Company

 Act of 1940 (the “ICA”) as an open-end management investment company. The Trust has 18

 series of shares, including as the issuer of the Diversified Fund and the technical filer of the

 Prospectuses. The Trust actively controlled the day-to-day operations of the Diversified Fund.

 The Trust is run by a Board of Trustees (the “Board”). The members of the Board were the

 officers of the Trust, many of whom signed the Prospectuses and all of whom exercised control

 over the Diversified Fund and the Diversified Fund’s marketing efforts. The Trust transacts

 business in New York.




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         30.    Defendant Infinity Q Capital Management LLC (“Infinity Q” or the “Adviser”), is

 the investment adviser to the Diversified Fund. Infinity Q is registered as an investment adviser

 under the Investment Advisers Act of 1940. Infinity Q was retained by the Diversified Fund

 under an investment advisory agreement to act as the it’s Adviser, with the authority to make all

 investment decisions for the Funds, in exchange for a monthly management fee. Infinity Q was

 also responsible for the day-to-day management of the Diversified Fund and other Infinity Q

 Funds in accordance with their investment objective and policies. In addition to providing

 advisory services, Infinity Q also provided advisory services to clients of Wildcat Capital

 Management, and, at all relevant times, officers of Infinity Q were also officers of Wildcat

 Capital Management. Infinity Q is a Delaware limited liability company with its principal place

 of business at 888 7th Ave, Suite 3700, New York, NY 10106.

         31.    Defendant Christopher E. Kashmerick (“Kashmerick”) is and was, at all relevant

 times, the Chairman of the Board of the Trust, as well as the Trust’s President and Principal

 Executive Officer. Kashmerick signed the Prospectuses. Kashmerick transacts business in New

 York.

         32.    Defendant John C. Chrystal (“Chrystal”) is and was, at all relevant times, a

 Trustee of the Board. Chrystal signed the Prospectuses. Chrystal transacts business in New

 York.

         33.    Defendant Albert J. DiUlio, S.J. (“DiUlio”) is and was, at all relevant times, a

 Trustee of the Board. DiUlio signed the Prospectuses. DiUlio transacts business in New York.

         34.    Defendant Harry E. Resis (“Resis”) is and was, at all relevant times, a Trustee of

 the Board. Resis signed the Prospectuses. Resis resides in and/or transacts business in New

 York.




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        35.     Defendant Russel B. Simon (“Simon”) is and was, at all relevant times, Treasurer

 and Principal Financial Officer of the Trust. Simon signed the Prospectuses. Simon transacts

 business in New York.

        36.     Defendant Steven J. Jenson (“Jenson”) is and was, at all relevant times, Vice

 President and Chief Compliance and AML Officer of the Trust. Jenson transacts business in

 New York.

        37.     Defendant James Velissaris (“Velissaris”) is and was, at all relevant times, a

 Director of the Adviser, and until February, 20, 2021, was its Chief Investment Officer (“CIO”).

 Velissaris resides in and/or transacts business in New York.

        38.     Defendant Leonard Potter (“Potter”) is and was, at all relevant times, the Chief

 Executive Officer of the Adviser. Potter resides in and/or transacts business in New York.

        39.     Defendant Scott Lindell (“Lindell”) is the Chief Risk Officer of Infinity Q.

 Lindell was also the former Head of Risk Management for Wildcat Capital Management.

 Lindell resides in and/or transacts business in New York.

        40.     Defendants Kashmerick, Chrystal, DiUlio, Resis, Simon, Jenson, Velissaris

 Potter, and Lindell shall be collectively referred to as the “Individual Defendants.” As Trustees,

 directors and/or executive officers of the Trust and/or Adviser, the Individual Defendants

 participated in the solicitation and sale of Fund shares to investors in the Fund for their own

 benefit and the benefit of Infinity Q.

        41.     Defendant Quasar Distributors, LLC (“Quasar” or “Underwriter”), is and was, at

 all relevant times, the principal underwriter for the Diversified Fund. Quasar is a registered

 broker-dealer and a member of the Financial Industry Regulatory Authority. Quasar executed an

 agreement with the Trust for the sale of Diversified Fund shares to the public, and received fees,




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 commissions and/or profits from these sales. Quasar’s failure to conduct an adequate due

 diligence investigation was a substantial factor leading to the harm complained of herein.

 Quasar transacts business in New York.

        42.     Defendant U.S. Bancorp Fund Services, LLC (“Bancorp” or the “Administrator”),

 is and was, at all relevant times, the administrator for the Diversified Fund, the transfer agent,

 accountant and custodian for the Diversified Fund, and the parent company of Quasar. Bancorp

 provides single-source solutions to support a variety of investment strategies and products

 including mutual funds, alternative investments, and exchange traded funds. Bancorp received

 fees, commissions, and/or profits from the Funds as part of its role as the Administrator for the

 Funds. As Administrator, Bancorp was responsible for the computation of performance data,

 including NAV per share and yield. Indeed, Bancorp consented to be named as the party

 “responsible for the calculation of the net asset value” of the Volatility Fund and as the transfer

 agent for the Diversified Fund and in offering documents.

        43.     According to the derivative complaint:

                Under the Accounting Agreement, U.S. [Bancorp] assumed
                responsibility to, among other things, “[d]etermine the net asset
                value of the Fund according to the accounting policies and
                procedures set forth in the Fund’s current prospectus”; “obtain
                prices from a pricing source approved by the [Board] and apply
                those prices to the portfolio positions,” including fair valuation for
                “securities where market quotations are not readily available”;
                “[c]alcualate per share net asset value, per share net earnings, and
                other per share amounts reflective of Fund operatios”; “[t]ransmit a
                copy of the portfolio valuation to the Fund’s investment adviser
                daily”; report to the [Diversified] Fund and NASDAQ the Fund’s
                “net asset value for each valuation date”; and “[p]repare monthly
                reports that document the adequacy of accounting detail to support
                month-end ledger balances.”

        Bancorp further “agreed to ‘exercise reasonable care in the performance of its duties’

 under the Accounting Agreement and expressly retained liability for its own ‘negligence.’”



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 Bancorp’s failure to conduct an adequate due diligence investigation into the NAV of the

 Diversified Fund and other Infinity Q Funds was a substantial factor leading to the harm

 complained of herein.

         44.    Defendant EisnerAmper LLP (“EisnerAmper” or the “Auditor”) is and was, at all

 relevant times, the Diversified Fund’s auditor. EisnerAmper audited the Diversified Fund’s

 consolidated statement of assets and liabilities, which was filed annually with the SEC in the

 Diversified Fund’s Annual Report. In each Annual Report, EisnerAmper represented to

 investors that the financial statements were “present[ed] fairly, in all material respects,” and “in

 conformity with accounting principles generally accepted in the United States of America.

 EisnerAmper transacts business in New York.

         45.    Defendant Bonderman Family Limited Partnership, LP (“Bonderman”) is a

 limited liability partnership established for the benefit of David Bonderman’s family wealth and

 investments. Bonderman owns more than 25% of the Adviser and is and was, at all relevant

 times, a control person of the Adviser. Bonderman resides in and/or transacts business in New

 York.

         46.    Defendant Infinity Q Management Equity, LLC (“IQME”) owns more than 25%

 of the Adviser and is and was, at all relevant times, a control person of the Adviser. IQME

 resides in and/or transacts business in New York.

                                   FACTUAL BACKGROUND

 The Diversified Fund

         47.    The Diversified Fund is registered as an investment company under the ICA. The

 Fund commenced operations on September 30, 2014 and began offering two share classes, Class

 A and Class I. Those offerings are required to be registered under the Securities Act.




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        48.      As set forth in the filings and marketing materials, the Diversified Fund’s stated

 investment objective was to generate positive absolute returns. In its offering and marketing

 materials and filings, the Diversified Fund further stated that it is generally intended to provide

 exposure to strategies often referred to as “alternative” or “absolute return” strategies, and that it

 implements these strategies by, among other things, investing globally either directly in, or through,

 swap contracts on a broad range of instruments, including, but not limited to, equities, bonds

 (including, but not limited to, high-yield or “junk” bonds), currencies, commodities, Master Limited

 Partnerships, credit derivatives, convertible securities, futures, forwards, and options.

        49.      Defendants issued and distributed the following SEC filings, offering materials,

 and marketing materials, among other documents and materials, in connection with the

 continuous offering of the Diversified Fund’s shares, including to Oak Financial:

        a) Diversified Fund Registration Statements filed with the SEC with effective dates of

              February 1, 2018, December 31, 2018, and December 31, 2019 (collectively, the

              “Registration Statements”);

        b) Diversified Fund Prospectuses appended to the Registration Statements dated

              February 1, 2018, December 31, 2018, and December 31, 2019 (collectively, the

              “Prospectuses”);

        c) Diversified Fund Summary Prospectuses dated February 1, 2018, December 31,

              2018, and December 31, 2019 (collectively, the “Summary Prospectuses”);

        d) Diversified Fund Statements of Additional Information (“SAIs”) and SAI

              Supplements;




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         e) Certified Shareholder Reports of Registered Management Investment Companies

               (Form N-CSR), filed with the SEC at the end of each fiscal year (August 31) by

               Infinity Q (the “Diversified Annual Reports”);

         f) Periodic “Investor Insights” providing market commentary;

         g) Periodic “Volatility Updates”; and

         h) Periodic “Risk Reports”.

         50.      As the Account Holders’ investment adviser, Oak Financial read, analyzed and

 relied upon the information set forth in these filings and offering and marketing materials in

 making decisions as to whether and how much to invest in the Fund on behalf of the Account

 Holders, as well as whether to retain or sell the Account Holders’ shares in the Fund.

         51.      Mutual funds like the Diversified Fund must value their assets every day to

 compute the fund’s net asset value (“NAV”). NAV represents a fund’s per share market value.

 It is derived by dividing the total value of all the cash and securities in a fund’s portfolio, less

 any liabilities, by the number of shares outstanding. NAV computation is undertaken at the end

 of each trading day and is a critical duty and function of a mutual fund.

         52.      During the relevant time period, Infinity Q used models provided by third-party

 pricing services to determine the value of certain of the Fund’s swap contracts for purposes of

 calculating its NAV.

         53.      In reliance on the representations set forth in the SEC filings and marketing and

 offering materials, including representations as to the Fund’s NAV, valuations of its assets,

 manner of future valuation of assets and calculation of the Fund’s NAV, and risk and volatility

 reports, Oak Financial began purchasing millions of dollars’ worth of Infinity Q Diversified

 Alpha Fund Institutional Class shares (IQDNX) on behalf of the Account Holders.




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        54.     The Account Holders collectively currently hold shares purchased on their behalf

 by Oak Financial that were reportedly worth approximately $28,888,962.08 as of February 18,

 2021, the last day on which the Fund calculated a net asset value; however, as set forth below,

 the real value is unknown.

        55.     On or about February 22, 2021, in a filing with the SEC, the Fund, the Trust, and

 Infinity Q admitted that Infinity Q’s Chief Investment Officer, defendant Velissaris, had been

 improperly “adjusting certain parameters” within third-party pricing models that affected the

 valuation of swap contracts owned by the Fund.

        56.     As a result of this disclosure, it became clear that valuations of the Fund’s assets

 that had been reported in SEC filings, as well as in the Fund’s daily share pricing (NAV) had

 been inaccurate and unreliable for some time.

        57.     It has further become clear that the defendants repeatedly made materially false

 and misleading statements in SEC filings, offering materials, marketing materials and in

 communications with Oak Financial regarding: (1) the Fund’s present and past NAV; (2) the

 Fund’s valuation procedures; (3) the risks to investors of investing in Fund shares; and (4) the

 Fund’s risk oversight, as detailed below.

        58.     Unbeknownst to Oak Financial, and disregarding the significant risks associated

 with pricing the Funds’ swap instruments, defendants (including the Valuation Committee) did not

 follow the pricing guidelines in the valuation policies described below, did not review the Funds’

 swap valuations for accuracy, and did not gather and review materials to support Infinity Q’s

 determinations.




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          59.      Further, as detailed in the government allegations and alleged in the derivative

 complaint:

                   Rather, [defendants] permitted virtually all of the Fund’s swap
                   instruments to be unilaterally priced by Infinity Q and its portfolio
                   manager, Velissaris, using Bloomberg’s B-Val pricing service (“B-
                   Val”)[ 4] with virtually no oversight or independent verification.
                   The only derivatives not priced by B-Val were so-called
                   “dispersion” instruments, which Infinity Q was likewise permitted
                   to price unilaterally using its own “proprietary modeling.”

          60.      Moreover, the Valuation Committee did not require Infinity Q to support or explain

 any particular swap valuation, did not collect valuation worksheets supporting the prices (as was

 supposed to be part of the standard valuation process), and otherwise failed to independently verify

 the models and inputs used in B-Val to generate prices.

          61.      The effect of this deviation from the Valuation Policies was that Infinity Q – and

 Velissaris alone – exercised complete control over the B-Val models and the calculations of the

 Funds’ swap prices. Indeed, as the SEC would find in its investigation, it was Velissaris alone who

 inputted and generated the B-Val prices with virtually no oversight or contemporaneous record.

          62.      As alleged by the SEC, the mismarking over time in the Diversified Fund was

 material. The mismarking, which is based on a third-party valuation firm’s recalculation of the

 Diversified Fund’s month-end NAV, and at times was more than 65% overvalued, is reflected in

 Table 1 below:




 4
   B-Val is a digital platform that estimates the prices of derivative instruments using financial
 ‘models’ designed to match the structure of the instrument being priced. Because Bloomberg does
 not have access to the actual terms of a swap contract, the B-Val service relies on the accuracy of the
 inputs provided by the user to estimate how a particular instrument may trade in the market.


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        63.    Ultimately, the Diversified Fund and other Infinity Q Funds were forced into

 liquidation. By November 8, 2021, the Diversified Fund completed the liquidation of its assets.

 Although the last reported NAV of the Diversified Fund was approximately $1.7 billion, the

 Diversified Fund only held $1.2 billion in cash and comparable assets following liquidation,

 confirming that the NAV had been overstated by over $500 million.

       DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS
              AND OMISSIONS DURING THE RELEVANT PERIOD

        64.    At all relevant times, defendants misstated the Diversified Fund’s historical

 NAVs because the value of a material portion of the Diversified Fund’s assets were admittedly

 manipulated and overstated. These false figures were then incorporated and repeated in the

 Registration Statements, Prospectuses, Diversified Fund Annual Reports, and other filings and

 marketing materials. The Prospectuses were signed by defendants Kashmerick, Chrystal, DiUlio

 Resis, and Simon



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        65.     The Registration Statements contained untrue statements of material fact, omitted

 to state other facts necessary to make the statements made not misleading, and were not prepared

 in accordance with the rules and regulations governing their preparation.

        66.     The defendants continuously falsely stated historical NAV values because the

 value of a material portion of its assets were admittedly intentionally manipulated and overstated.

 These false figures were then incorporated and repeated in the Registration Statements,

 Prospectuses, Annual Reports, and other filings and marketing materials.

        67.     Each of the Prospectuses also falsely detailed how the Fund calculates its NAV.

 Specifically, the Prospectuses stated, in pertinent part:

                NAV is calculated by adding the value of all securities and other
                assets attributable to the Fund (including interest and dividends
                accrued, but not yet received), then subtracting liabilities
                attributable to the Fund (including accrued expenses).

                Generally, the Fund’s investments are valued at market value or, in
                the absence of a market value, at fair value as determined in good
                faith by the Fund’s Adviser with oversight by the Trust’s Valuation
                Committee pursuant to procedures approved by or under the
                direction of the Board. Pursuant to those procedures, the Adviser
                considers, among other things: (1) the last sales price on the
                securities exchange, if any, on which a security is primarily traded;
                (2) the mean between the bid and asked prices; (3) price quotations
                from an approved pricing service; and (4) other factors as
                necessary to determine a fair value under certain circumstances.

        68.      These statements in ¶ 67 were untrue statements of material fact and omitted to

 state other facts necessary to make the statements made not misleading because the daily NAV

 did not accurately reflect the true value of assets held by the Diversified Fund and defendants did

 not attempt in good faith to determine the fair value of swap contracts, but instead incorporated

 falsified data and manipulated pricing methodologies.




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       69.   The Prospectuses further represented as to the pricing of shares:

             Shares of the Fund are sold at NAV per share which is calculated
             as of the close of regular trading (generally, 4:00 p.m., Eastern
             Time) on each day that the New York Stock Exchange (“NYSE”)
             is open for unrestricted business. However, the Fund’s NAV may
             be calculated earlier if trading on the NYSE is restricted or as
             permitted by the SEC. The NYSE is closed on weekends and most
             national holidays, including New Year’s Day, Martin Luther King,
             Jr. Day, Washington’s Birthday/Presidents’ Day, Good Friday,
             Memorial Day, Independence Day, Labor Day, Thanksgiving Day
             and Christmas Day. The NAV will not be calculated on days when
             the NYSE is closed for trading.

             Purchase and redemption requests are priced based on the next
             NAV per share calculated after receipt of such requests and any
             applicable sales charge. The NAV is the value of the Fund’s
             securities, cash and other assets, minus all expenses and liabilities
             (assets – liabilities = NAV). NAV per share is determined by
             dividing NAV by the number of shares outstanding (NAV/ # of
             shares = NAV per share). The NAV takes into account the
             expenses and fees of the Fund, including management and
             administration fees, which are accrued daily.

             In calculating the NAV, portfolio securities are valued using
             current market values or official closing prices, if available. Each
             security owned by the Fund that is listed on a securities exchange
             is valued at its last sale price on that exchange on the date as of
             which assets are valued. Where the security is listed on more than
             one exchange, the Fund will use the price of the exchange that the
             Fund generally considers to be the principal exchange on which the
             security is traded.

             When market quotations are not readily available, a security or
             other asset is valued at its fair value as determined under
             procedures approved by the Board. These fair value procedures
             will also be used to price a security when corporate events, events
             in the securities market and/or world events cause the Adviser to
             believe that a security’s last sale price may not reflect its actual
             market value. The intended effect of using fair value pricing
             procedures is to ensure that the Fund is accurately priced. The
             Board will regularly evaluate whether the Fund’s fair valuation
             pricing procedures continue to be appropriate in light of the
             specific circumstances of the Fund and the quality of prices
             obtained through their application by the Trust’s valuation
             committee. . . .



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                Fair value pricing may be applied to non-U.S. securities. The
                trading hours for most non-U.S. securities end prior to the close of
                the NYSE, the time that the Fund’s NAV is calculated. The
                occurrence of certain events after the close of non-
                U.S. markets, but prior to the close of the NYSE (such as a
                significant surge or decline in the U.S. market) often will result in
                an adjustment to the trading prices of non-U.S. securities when
                non-U.S. markets open on the following business day. If such
                events occur, the Fund may value non-U.S. securities at fair value,
                taking into account such events, when it calculates its NAV. . . .

                Other types of securities that the Fund may hold for which fair
                value pricing might be required include, but are not limited to: (a)
                investments which are not frequently traded and/or the market
                price of which the Adviser believes may be stale; (b) illiquid
                securities, including “restricted” securities and private placements
                for which there is no public market; (c) securities of an issuer that
                has entered into a restructuring; (d) securities whose trading has
                been halted or suspended; and (e) fixed income securities that have
                gone into default and for which there is not a current market value
                quotation.

        70.     The description of the pricing procedures for Diversified Fund shares in ¶ 69 was

 an untrue statement of material fact and omitted to state other facts necessary to make the

 statement made not misleading because the purportedly fair value pricing procedures were not

 designed to ensure the Diversified Fund was accurately priced, nor did it accurately reflect how

 the NAV was being calculated. In fact, during the Relevant Period, Infinity Q’s CIO, defendant

 Velissaris, had systematically mismarked the Diversified Fund’s assets in order to artificially

 inflate the Diversified Fund’s NAV.

        71.      The Prospectuses each also misrepresented the role of the Valuation Committee

 and how securities held by the Trust were valued. For instance, the December 31, 2018

 Prospectus stated in pertinent part as follows:

                The Board has delegated day-to-day valuation issues to a
                Valuation Committee that is comprised of the Trust’s President,
                Treasurer and Assistant Treasurer and is overseen by the Trustees.



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                   The function of the Valuation Committee is to review and oversee
                   each Adviser’s valuation of securities held by any series of the
                   Trust for which current and reliable market quotations are not
                   readily available. Such securities are valued at their respective
                   fair values as determined in good faith by the Valuation
                   Committee, and the actions of the Valuation Committee are
                   subsequently reviewed and ratified by the Board. The Valuation
                   Committee meets as needed. The Valuation Committee met twelve
                   times during the fiscal year ended August 31, 2018, with respect to
                   the Fund.

        Each Prospectus goes on to disclose the number of times the Valuation Committee met

 during the fiscal year with respect to the Fund.

        72.        The statements in ¶ 71 regarding the role of the Valuation Committee and how the

 securities held by the Trust were valued were untrue statements of material fact and omitted to

 state other facts necessary to make the statements made not misleading because the Valuation

 Committee was not taking the necessary steps to “review each Adviser’s valuation of securities”

 and was not ensuring that the Diversified Fund’s assets were properly valued. In fact, the

 Valuation Committee was either complicit in the systematic mismarking of the Diversified

 Fund’s NAV or had completely abdicated its responsibilities, allowing the NAV of the

 Diversified Fund to be overstated by hundreds of millions of dollars.

        73.        Similarly, the December 31, 2018 Prospectus stated the following concerning

 valuation risk:

                   Valuation Risk. The sales price the Fund could receive for any
                   particular portfolio investment may differ from the Fund’s
                   valuation of the investment, particularly for securities or other
                   investments that trade in thin or volatile markets or that are valued
                   using a fair value methodology. Investors who purchase or redeem
                   Fund shares on days when the Fund is holding fair-valued
                   securities may receive fewer or more shares or lower or higher
                   redemption proceeds than they would have received if the Fund
                   had not fair-valued securities or had used a different valuation
                   methodology. Valuation may be more difficult in times of market
                   turmoil since many investors and market makers may be reluctant



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                 to purchase complex instruments or quote prices for them. The
                 Fund’s ability to value its investments may be impacted by
                 technological issues and/or errors by pricing services or other third
                 party service providers.

         74.     The statements above in ¶ 73 were untrue statements of material fact and omitted

 to state other facts necessary to make the statements made not misleading because they failed to

 disclose any risk that the valuations could be based, in part, on third-party valuation models

 which were intentionally manipulated by Infinity Q. Specifically, the statements omitted that

 Infinity Q’s CIO, defendant Velissaris, was intentionally manipulating the third-party pricing

 models used in valuing swaps and other Diversified Fund positions, resulting in a gross

 overstatement of the Diversified Fund’s historical NAV.

         75.     The Prospectuses and other offering materials were also misleading and

 incomplete with respect to the risk disclosures. While the Prospectuses provided boilerplate risk

 disclosures, including a risks associated with “models and data” and “valuation risk,” the

 materials failed to disclose any risk that the valuations could be based, in part, on third-party

 valuation models which were intentionally manipulated.

         76.     The Prospectuses and other offering materials also contain false and misleading

 statements as to the oversight of the Diversified Fund and attempts to minimize risk, providing,

 in relevant part:

                 The Board has general oversight responsibility with respect to the
                 operation of the Trust and the Fund. The Board has engaged the
                 Adviser to manage the Fund and is responsible for overseeing the
                 Adviser and other service providers to the Trust and the Fund in
                 accordance with the provisions of the 1940 Act and other
                 applicable laws. The Board has established an Audit Committee to
                 assist the Board in performing it oversight responsibilities.

                                           *       *       *
                 Through its direct oversight role, and indirectly through the Audit
                 Committee, and officers of the Fund and service providers, the


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                Board performs a risk oversight function for the Fund. To
                effectively perform its risk oversight function, the Board, among
                other things, performs the following activities: receives and
                reviews reports related to the performance and operations of the
                Fund; reviews and approves, as applicable, the compliance policies
                and procedures of the Fund; approves the Fund’s principal
                investment policies; adopts policies and procedures designed to
                deter market timing; meets with representatives of various service
                providers, including the Adviser, to review and discuss the
                activities of the Fund and to provide direction with respect thereto;
                and appoints a chief compliance officer of the Fund who oversees
                the implementation and testing of the Fund’s compliance program
                and reports to the Board regarding compliance matters for the Fund
                and its service providers.

                The Trust has an Audit Committee, which plays a significant role
                in the risk oversight of the Fund as it meets annually with the
                auditors of the Fund. The Board also meets quarterly with the
                Fund’s chief compliance officer.

                Not all risks that may affect the Fund can be identified nor can
                controls be developed to eliminate or mitigate their occurrence or
                effects. It may not be practical or cost effective to eliminate or
                mitigate certain risks, the processes and controls employed to
                address certain risks may be limited in their effectiveness, and
                some risks are simply beyond the reasonable control of . . .the
                Adviser or other service providers. Moreover, it is necessary to
                bear certain risks (such as investment-related risks) to achieve the
                Fund’s goals. As a result of the foregoing and other factors, the
                Fund’s ability to manage risk is subject to substantial limitations.

        77.     The statements in ¶ 76 were untrue statements of material fact and omitted to state

 other facts necessary to make the statements made not misleading because the Board, the

 Adviser, and the Audit Committee were not, in fact, properly overseeing the operations of the

 Diversified Fund to minimize risk and instead were employing valuation methods which

 drastically increased risks to investors.

        78.     The December 31, 2018 Prospectus stated that the Diversified Fund’s NAV was

 $10.37 per investor class share as of August 31, 2017, with a total return of 7.56% for the year




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 ended August 31, 2017, and $10.42 per institutional class share as of August 31, 2017, with a

 total return of 7.88% for the year ended August 31, 2017.

        79.     The December 31, 2019 Prospectus stated that the Diversified Fund’s NAV was

 $11.54 per investor class share as of August 31, 2018, with a total return of 11.28% for the year

 ended August 31, 2018, and $11.62 per institutional class share as of August 31, 2018, with a

 total return of 11.52% for the year ended August 31, 2018.

        80.     Given the admittedly manipulated and overstated valuations of the Diversified

 Fund, statements as to the Diversified Fund’s assets, net assets, and NAV set forth in each of the

 Diversified Fund Annual Reports (each of which was audited by the Auditor and calculated, in

 substantial part, by Bancorp) contained untrue statements of material fact and omitted to state

 other facts necessary to make the statements not misleading.

        81.     The Notes to the Consolidated Financial Statements set forth in each of the

 Annual Reports also contain false and misleading statements. The Notes provide that the

 statements have been prepared “in conformity with accounting principles generally accepted in

 the United States of America (“GAAP”) for investment companies.” This representation was

 untrue because the financial statements for the Diversified Fund had not been prepared in

 accordance with GAAP but in fact were the product of pricing manipulation by Infinity Q

 designed to artificially inflate the Diversified Fund’s NAV.

        82.     With respect to “Securities Valuation,” the Notes to the Consolidated Financial

 Statements for the year ended August 31, 2016 state that:

                The Fund follows a fair value hierarchy that distinguishes between
                market data obtained from independent sources (observable inputs)
                and the Fund’s own market assumptions (unobservable inputs).
                The inputs or methodology used in determining the value of each
                Fund’s investments are not necessarily an indication of the risk
                associated with investing in those securities.



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             Various inputs are used in determining the value of the Fund’s
             investments. These inputs are summarized into three broad
             categories as defined below:

             Level 1 - Quoted prices in active markets for identical securities.
             An active market for a security is a market in which transactions
             occur with sufficient frequency and volume to provide pricing
             information on an ongoing basis. A quoted price in an active
             market provides the most reliable evidence of fair value.

             Level 2 - Observable inputs other than quoted prices included in
             level 1 that are observable for the asset or liability either directly or
             indirectly. These inputs may include quoted prices for the identical
             instrument on an inactive market, prices for similar instruments,
             interest rates, prepayment speeds, credit risk, yield curves, default
             rates, and similar data.

             Level 3 - Significant unobservable inputs, including the Fund's
             own assumptions in determining fair value of investments

                                        *       *        *
             Other financial derivative instruments, such as foreign currency
             contracts, options contracts, futures, or swap agreements, derive
             their value from underlying asset prices, indices, reference rates,
             and other inputs or a combination of these factors. Depending on
             the product and the terms of the transaction, the value of the
             derivative contracts can be estimated by the Adviser or a pricing
             service using model pricing tailored to the type of security held.
             The pricing models use various inputs that are observed from
             actively quoted markets such as issuer details, indices, spreads,
             interest rates, curves, implied volatility and exchange rates.


                                        *       *        *
             The Fund makes dispersion investments using volatility and
             variance swaps. With the exception of dispersion trades, single
             stock volatility and variance swaps rarely trade. As a result, the
             Adviser deems these positions to be illiquid and classifies these
             positions as Level 3 in the fair value hierarchy. The Adviser uses
             model pricing to calculate the fair volatility level for each leg of
             the dispersion trade. The Adviser uses quotes from a pricing
             service and brokers to estimate implied volatility levels as an
             input to these models. A 1% change in the volatility spread could




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                change the value by up to 251%, which, depending on the direction
                of the change, could either increase or decrease the position’s
                value.

                The Fund makes cross-asset correlation investments using
                correlation and covariance swaps. The Adviser deems these
                positions to be illiquid and classifies these positions as Level 3 in
                the fair value hierarchy. The Adviser uses a third party
                calculation agent to value these positions. The local volatility
                model is used to calculate the fair correlation level for
                correlation swaps. Quotes from a pricing service are used to
                estimate the implied correlation levels as an input to these
                models. A 1% change in the implied correlation could change the
                value by up to 10%, which, depending on the direction of the
                change, could either increase or decrease the position’s value.

                The inputs or methodology used for valuing securities are not
                necessarily an indication of the risk associated with investing in
                those securities.

        83.     The Notes to Consolidated Financial Statements for the following years contain

 substantially similar statements.

        84.     These representations were untrue statements of material fact and omitted to state

 other facts necessary to make the statements made not misleading. Specifically, the Prospectuses

 and Diversified Fund Annual Reports failed to disclose that Infinity Q: (a) manipulated the

 pricing methodology for the Diversified Fund’s assets; (b) failed to employ the valuation

 methodologies and internal controls policies and procedures represented to investors; and (c)

 materially overstated the Diversified Fund’s NAV.

        85.     In the Diversified Fund’s 2019 and 2020 Annual reports and semi-annual reports,

 Infinity Q further represented that the mutual fund “uses a pricing service to model price the

 variance swap trades” and that the pricing service “uses quotes from brokers to estimate implied

 volatility levels as an input to these models.”




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        86.     These statements were untrue statements of material fact and omitted to state

 other facts necessary to make the statements made not misleading. Specifically, the statements

 from the Diversified Fund’s annual and semi-annual reports were misleading because they failed

 to disclose that Infinity Q: (a) manipulated the pricing methodology for the Diversified Fund’s

 assets; (b) failed to employ the valuation methodologies and internal controls policies and

 procedures represented to investors; and (c) materially overstated the Diversified Fund’s NAV.

        87.     In addition, Oak Financial met and/or communicated quarterly with Velissaris and

 Lindell, amongst others, at which times they repeated the misrepresentations and misleading

 statements as to the valuation and risk of the Diversified Fund, including representations that the

 Diversified Fund was properly valued, and that the value of the shares was not volatile or subject

 to valuation swings. Such representations concealed and misrepresented the misstated valuations

 of the swap contracts and the risks associated with such misstated valuations.

 Item 303 and Item 105 Violations

        88.     In addition, Item 303 of SEC Regulation S-K, 17 C.F.F. § 229.303(b)(2)(ii)

 (“Item 303”) requires defendants to “[d]escribe any known trends or uncertainties that have had

 or that are reasonably likely to have a material favorable or unfavorable impact on the sales or

 revenues or income from continuing operations.” Despite this, the Diversified Fund’s

 Registration Statements and Prospectuses failed to warn investors that Infinity Q had

 manipulated the pricing methodologies used to value the assets of the Diversified Fund and that,

 as a result, the NAV of the Diversified Fund had been materially overstated during the Relevant

 Period. The failure to disclose these adverse facts violated Item 303 because these adverse facts

 would (and did) have an unfavorable impact on the Diversified Fund’s net investment income

 from operations.




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        89.     Similarly, Item 105 of SEC Regulation S-K, 17 C.F.R. §229.105(a) (“Item 105”),

 requires, in the “Risk Factors” section of the Registration Statements, “a discussion of the

 material factors that make an investment in the registrant or offering speculative or risky” and

 requires each risk factor to “adequately describe[] the risk.” The failure to warn of the risks

 posed by Infinity Q’s manipulation of the Diversified Fund’s pricing methodologies and material

 overstatement of the Diversified Fund’s NAV violated Item 105 because these specific risks

 were not disclosed, even though they were some of the most significant facts that made an

 investment in Diversified Fund shares speculative or risky.

        90.     Although the offering materials for the Diversified Fund included generic

 warnings regarding the possibility of future losses from trading, volatility, and derivatives that

 are applicable to investing in general, these representations were themselves materially

 misleading because they failed to disclose the specific risks and the magnitude of the risks that

 resulted from the manipulation of the Diversified Fund’s pricing methodologies and the material

 overstatement of the Diversified Fund’s NAV. Moreover, defendants’ purported discussions of

 “risk” were misleadingly presented as future potential contingencies while failing to disclose

 adverse facts that had already occurred. For example, the Prospectuses stated that risks

 associated with the Diversified Fund’s “Models and Data” and “valuation” could happen, but

 failed to disclose that the Diversified Fund’s NAV had already been artificially inflated through

 manipulation of applicable pricing methodologies. Furthermore, the boilerplate warnings were

 insufficient to negate the misleading impression created by the misrepresentations in the

 Diversified Fund’s Registration Statements and Prospectuses, as detailed herein, that the

 Diversified Fund had effective valuation procedures and policies that would preserve capital and

 achieve growth regardless of market conditions and, particularly, in down markets. The offering




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 materials for the Diversified Fund entirely omitted the specific risk that an investment manager

 could (and did) manipulate third-party valuation models that would lead to catastrophic losses in

 the Diversified Fund’s assets. Moreover, defendants’ purported “risk” discussions were

 themselves materially misleading because those discussions presented future potential adverse

 contingencies, while failing to disclose that Infinity Q’s CIO had altered the pricing

 methodologies used to value the Diversified Fund’s assets and that the Diversified Fund had

 already failed to perform the price verifications and other due diligence as represented to

 investors.

        91.     The Offering Memoranda also misrepresented the role of the Valuation

 Committee, stating in pertinent part as follows:

                Valuation Committee

                Infinity Q has established a valuation committee (the “Valuation
                Committee”) that is responsible for determining fair values and to
                ensure timely analysis and implementation of policies related to
                the pricing of individual securities or groups of securities that may
                be held by Infinity Q Funds.

    DEFENDANTS DISCLOSE THAT ITS VALUATION DATA WAS MANIPULATED

        92.     On December 30, 2020, the Fund filed a supplemental Prospectus and notice with

 the SEC, which stated as follows:

                Effective as of the close of business on December 31, 2020, the
                Infinity Q Diversified Alpha Fund (the “Infinity Q Fund”) is closed
                to all new investment, including through dividend reinvestment,
                and the Infinity Q Fund’s transfer agent will not accept orders for
                purchases of shares of the Infinity Q Fund from either current
                Infinity Q Fund shareholders or new investors. Current
                shareholders, however, may continue to redeem Infinity Q Fund
                shares. If all shares of the Infinity Q Fund held in an existing
                account are redeemed, the shareholder’s account will be closed.




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        93.     On or around February 22, 2021, Infinity Q filed a request with the SEC for an

 order pursuant to Section 22(e)(3) of the ICA suspending the right of redemption with respect to

 shares of the Fund, effective February 19, 2021, because of Infinity Q’s inability to determine

 NAV. The request also stated that the Fund was liquidating its portfolio and distributing its assets

 to shareholders.

        94.     As part of the “justification” for the request, the Fund admitted that Infinity Q’s

 CIO, Velissaris, had been “adjusting certain parameters within the third-party pricing model that

 affected the valuation” of swap contracts.

        95.     Infinity Q further admitted it was unable to conclude that these adjustments were

 reasonable, and, further, it was unable to verify that the values it had previously determined for

 the swap contracts were reflective of fair value.

        96.     The filing went on to state that:

                Infinity Q also informed the Fund that it would not be able to
                calculate a fair value for any of the Swaps in sufficient time to
                calculate an accurate NAV for at least several days. Infinity Q and
                the Fund immediately began the effort to value these Swap
                positions accurately to enable the Fund to calculate an NAV,
                which effort includes the retention of an independent valuation
                expert. However, Infinity Q and the Fund currently believe that
                establishing and verifying those alternative methods may take
                several days or weeks. Infinity Q and the Fund are also
                determining whether the fair values calculated for positions other
                than the Swaps are reliable, and the extent of the impact on
                historical valuations. As a result, the Fund was unable to calculate
                an NAV on February 19, 2021, and it is uncertain when the Fund
                will be able to calculate an NAV that would enable it to satisfy
                requests for redemptions of Fund shares

        97.     The Diversified Fund did not calculate an NAV on February 19, 2021, nor any

 day thereafter until the filing of this Complaint, and it is unknown when the Diversified Fund

 will be able to calculate an NAV.




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         98.    On February 22, 2021, due to Fund’s inability to calculate its NAV, and on the

 Fund’s request, the SEC suspended redemptions of the Fund indefinitely.

         99.    As reported, beginning on March 1, 2021, the Board began working to liquidate

 all assets held by the Fund that were not already in cash or cash equivalents as of February 22,

 2021.

         100.   On March 26, 2021, the Fund reported that as of March 19, 2021, the Fund’s

 portfolio has been entirely liquidated. The Fund reported that the liquidation of the Fund’s

 portfolio resulted in the Fund holding $1,249,485,022 in cash and cash equivalents as of March

 25th, which is being held by the Fund’s custodian. The Fund stated that this total does not include

 outstanding close-out payments from certain derivatives counterparties, but that such amounts

 are not expected to materially increase the Fund’s cash holdings.

         101.   The Fund further reported that:

                On February 18, 2021, the last day on which the Fund calculated a
                net asset value (“NAV”), the Fund’s stated NAV was
                $1,727,194,948.50, compared to an asset value (before considering
                liabilities and other deductions necessary to calculate an NAV) as
                of March 25 of $1,249,485,022. As discussed below, the Fund is in
                the process of reevaluating its historical valuations of variance
                swaps and certain other holdings, which may lead to a reduction in
                the NAV for February 18 and earlier periods. Subject to that
                possible revaluation, the decrease in asset value assigned to the
                portfolio on February 18 to the March 25 asset value of
                $1,249,485,022 is currently attributable primarily to the value
                realized on liquidation of the Fund’s bilateral OTC positions
                compared to their stated value on February 18. These positions
                included variance swaps, and other OTC swaps and options
                positions, that represented approximately 18% and 11%,
                respectively, of the Fund’s NAV on February 18, 2021.

         102.   On February 17, 2022, defendant Velissaris was indicted by the DOJ for securities

 fraud and obstruction of justice for orchestrating a scheme to lie to the Diversified Fund’s and

 other Infinity Q Funds’ investors and falsify documents. On the same day, both the SEC and the



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 CFTC also charged defendant Velissaris with fraud for overvaluing the Funds’ assets by more

 than $1 billion while pocketing tens of millions of dollars in fees. The complaints allege in part

 that Velissaris accomplished his scheme by, among other methods: (i) surreptitiously inputting

 false information into the models; (ii) changing the models’ standard underlying computation

 codes; and (iii) using improper pricing templates to guarantee the pricing service would return

 whatever artificial values he wanted rather than the values that the independent pricing service

 models would produce without Velissaris’ nefarious actions. Using these fraudulent valuations,

 the complaints allege, Velissaris successfully caused Infinity Q to show hundreds of millions of

 dollars in false, exaggerated gains, creating a false record of success that Infinity Q in turn used

 to charge inflated fees, induce existing pool participants to commit additional monies, and lure in

 new participants.

         103.    Infinity Q is currently holding investors’ money hostage, withholding

 approximately $750 million from Diversified Fund investors. In the meantime, there is a

 substantial risk that defendants are continuing to deplete the assets of the Funds through legal

 defense costs, effectively treating investor assets as an enormous legal defense fund.

         104.    Oak Financial and the Account Holders are now left waiting to learn what their

 investments in the Fund are actually worth and what they will receive at liquidation.

                                           COUNT I
             (Violation of §11 of the Securities Act Against the Trust, the Adviser,
       the Individual Defendants, the Underwriter, the Administrator, and the Auditor)

         105.    Plaintiff repeats and realleges each and every allegation set forth above as if fully

 set forth herein.

         106.    For the purposes of this Count, Plaintiff expressly excludes and disclaims any

 allegations that could be construed as alleging fraud or intentional or reckless conduct, as this




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 Count is solely based on claims of strict liability and/or negligence under the Securities Act. For

 purposes of asserting this Count, Plaintiff does not allege that defendants acted with scienter or

 fraudulent intent, which are not elements of a § 11 claim.

        107.    As the issuer, the Trust is strictly liable under the Securities Act. Liability under

 this Count is also predicated on the Individual Defendants’ signing of the Registration

 Statements, their positions as directors, and/or the filings incorporated by reference therein for

 the offerings, and all Securities Act defendants’ respective participation in the offerings, which

 were conducted pursuant to the offering materials. The Underwriter served as the underwriter

 with respect to the offer and sale of the shares issued by the Diversified Fund. In addition, the

 Adviser, the Administrator, and the Auditor each consented to having been named as the persons

 who prepared or certified parts of the Registration Statements, which such portions are alleged

 herein to be materially false and misleading.

        108.    The Registration Statements were inaccurate and misleading, contained untrue

 statements of material fact, omitted to state other facts necessary to make the statements made

 not misleading, and omitted to state material facts required to be stated therein.

        109.    None of the defendants named herein made a reasonable investigation or

 possessed reasonable grounds for the belief that the statements contained in the Registration

 Statements were true and without omissions of any material facts and were not misleading.

        110.    Plaintiff and its Account Holders acquired shares of the Diversified Fund pursuant

 to the Registration Statements. Plaintiff and its Account Holders sustained damages as a result of

 the violation, as the value of shares of the Diversified Fund has declined substantially subsequent

 to and due to defendants’ violations.




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           111.   Less than one year has elapsed since the time that Plaintiff discovered, or could

 reasonably have discovered, the facts upon which this Complaint is based. Less than three years

 has elapsed since the time that the securities at issue in this Count were bona fide offered to the

 public.

           112.   As a result of the wrongful conduct alleged herein, Plaintiff suffered damages in

 an amount to be established at trial.

           113.   By reason of the foregoing, the Trust, the Adviser, the Individual Defendants, the

 Underwriter, the Administrator, and the Auditor have violated §11 of the Securities Act and are

 each jointly and severally liable to Plaintiff for the substantial damages which were suffered in

 connection with their purchases of the Diversified Fund’s securities on behalf of the account

 holders.

                                            COUNT II
  (Violation of §12(a)(2) of the Securities Act Against the Trust, the Adviser, the Individual
                               Defendants, and the Underwriter)

           114.   Plaintiff repeats and realleges each and every allegation set forth above as if fully

 set forth herein.

           115.   For purposes of this Count, Plaintiff expressly excludes and disclaims any

 allegation that could be construed as alleging fraud or intentional or reckless conduct, as this

 Count is solely based on claims of strict liability and/or negligence under the Securities Act. For

 purposes of asserting this Count, Plaintiff does not allege that defendants acted with scienter or

 fraudulent intent, which are not elements of a §12(a)(2) claim.

           116.   The defendants named herein were sellers and offerors and/or solicitors of

 purchasers of the shares of the Diversified Fund offered pursuant to the Prospectuses and other

 offering and marketing materials and communications.




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        117.     The Prospectuses contained untrue statements of material fact, omitted to state

 other facts necessary to make the statements made not misleading, and omitted to state material

 facts required to be stated therein. The actions of solicitation included participating in the

 preparation of the false and misleading Prospectuses and participating in marketing the shares of

 the Diversified Fund to investors, including Plaintiff.

        118.     Each of the defendants named herein owed to the purchasers of Diversified Fund

 shares, including Plaintiff, the duty to make a reasonable and diligent investigation of the

 statements contained in the Prospectuses and corresponding supplements and amendments to

 ensure that such statements were true and that there was no omission to state a material fact

 required to be stated in order to make the statements contained therein not misleading.

        119.     Defendants, in the exercise of reasonable care, should have known of the

 misstatements and omissions contained in the Prospectuses as set forth above.

        120.     Plaintiff purchased shares of the Diversified Fund on behalf of the Account

 Holders pursuant to the defective Prospectuses. Plaintiff did not know, nor in the exercise of

 reasonable diligence could it have known, of the falsehoods and omissions contained in the

 Prospectuses.

        121.     By reason of the conduct alleged herein, each of the defendants named herein

 violated §12(a)(2) of the Securities Act.

        122.     As a direct and proximate result of such violations, Plaintiff, which acquired

 shares pursuant to the offering materials, sustained substantial damages in connection with their

 acquisition of shares of the Diversified Fund.

        123.     Accordingly, for the shares of the Diversified Fund held by Plaintiff and its

 Account Holders and issued pursuant to the offering materials, Plaintiff has the right to rescind




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 and recover the consideration paid for their shares, with interest thereon, and hereby tender their

 shares to Infinity Q. For shares of the Diversified Fund that they sold, Plaintiff seeks damages to

 the extent permitted by law.

                                         COUNT III
   (Violation of Section 10(b) of The Exchange Act and Rule 10b-5 Against The Fund, The
     Trust, The Adviser, The Individual Defendants, The Underwriter and The Auditor)

         124.    Plaintiff repeats and realleges each and every allegation set forth above as if fully

 set forth herein.

         125.    This Count is asserted against defendants the Fund, the Trust, the Adviser, the

 Individual Defendants, the Underwriter, and the Auditor, and is based upon Section 10(b) of the

 Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

         126.    During the relevant time period, the Fund, the Trust, the Adviser, the Individual

 Defendants, the Underwriter, and the Auditor, individually and in concert, directly or indirectly,

 disseminated or approved the false statements specified above in the Prospectuses, Annual

 Reports, and other filings, marketing materials and communications, which they knew or

 deliberately disregarded were misleading in that they contained misrepresentations and failed to

 disclose material facts necessary in order to make the statements made, in light of the

 circumstances under which they were made, not misleading.

         127.    The Fund, the Trust, the Adviser, the Individual Defendants, the Underwriter, and

 the Auditor violated §10(b) of the 1934 Act and Rule 10b-5 in that they: employed devices,

 schemes and artifices to defraud; made untrue statements of material facts or omitted to state

 material facts necessary in order to make the statements made, in light of the circumstances

 under which they were made, not misleading; and/or engaged in acts, practices and a course of




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 business that operated as a fraud or deceit upon Oak Financial in connection with its purchases of

 the Fund’s securities on behalf of the Account Holders.

        128.       The Fund, the Trust, the Adviser, the Individual Defendants, the Underwriter, and

 the Auditor acted with scienter in that they knew that the public documents and statements issued

 or disseminated in the name of the Trust were materially false and misleading; knew that such

 statements or documents would be issued or disseminated to the investing public, including Oak

 Financial; and knowingly and substantially participated, or acquiesced in the issuance or

 dissemination of such statements or documents as primary violations of the securities laws.

 These defendants, by virtue of their receipt of information reflecting the true facts of the Fund,

 their control over, and/or receipt and/or modification of the Trust’s allegedly materially

 misleading statements, and/or their associations with the Fund which made them privy to

 confidential proprietary information concerning the Fund, participated in the fraudulent scheme

 alleged herein.

        129.       Individual Defendants, who are the senior officers and/or directors, had actual

 knowledge of the material omissions and/or the falsity of the material statements set forth above,

 and intended to deceive Oak Financial and other investors, or, in the alternative, acted with

 reckless disregard for the truth when they failed to ascertain and disclose the true facts in the

 statements made by them or other personnel to members of the investing public, including Oak

 Financial.

        130.       As a result of the foregoing, the market price of the Fund’s securities was

 artificially inflated during the relevant time period that Oak Financial purchased shares on behalf

 of the Account Holders. Oak Financial relied on the statements described above and/or the

 integrity of the market price of the Fund’s securities during the relevant time period in




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 purchasing the Fund’s securities on behalf of the Account Holders at prices that were artificially

 inflated as a result of the false and misleading statements of the Fund, the Trust, the Adviser, the

 Individual Defendants, the Underwriter, and the Auditor.

        131.     Had Oak Financial been aware that the market price of the Fund’s securities had

 been artificially and falsely inflated by the defendants’ misleading statements and by the material

 adverse information which the defendants did not disclose and that the Fund was not going to

 follow the valuation procedures which it represented would be utilized, it would not have

 purchased the Fund’s securities on behalf of the Account Holders at the artificially inflated prices

 that they did, or at all, and would not have retained such securities.

        132.    As a result of the wrongful conduct alleged herein, Oak Financial and the Account

 Holders have suffered damages in an amount to be established at trial.

        133.    By reason of the foregoing, the Fund, the Trust, the Adviser, the Individual

 Defendants, the Underwriter, and the Auditor have violated Section 10(b) of the Exchange Act

 and Rule 10b-5 promulgated thereunder and are liable to Oak Financial for the substantial

 damages which were suffered in connection with its purchases of the Fund’s securities on behalf

 of the Account Holders.

                                         COUNT IV
    (Violation of Section 20(a) of The Exchange Act Against The Adviser, The Individual
                             Defendants, Bonderman and IQME)

        134.    Plaintiff repeats and realleges each and every allegation contained in the

 foregoing paragraphs as if fully set forth herein.

        135.    During the relevant period, the Adviser managed and controlled the business

 affairs of the Fund and was a control person of the Fund.




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        136.    During the relevant period, the Individual Defendants participated in the operation

 and management of the Trust and Infinity Q, and conducted and participated, directly and

 indirectly, in the conduct of the Trust and Infinity Q’s business affairs. Because of their senior

 positions, they knew the adverse non-public information regarding the Trust and Infinity Q’s

 business practices.

        137.    As officers and/or directors, the Individual Defendants had a duty to disseminate

 accurate and truthful information with respect to the Fund’s financial condition and results of

 operations, and to correct promptly any public statements issued by the Trust or Infinity Q which

 had become materially false or misleading.

        138.    Infinity Q was an outgrowth of Bonderman’s family wealth management office,

 Wildcat capital Management, and was established and ultimately overseen by Bonderman.

 Bonderman and IQME, by virtue of their ownership of over 25% of the Adviser, are each a

 control person of the Adviser.

        139.    Because of their positions of control and authority, the Adviser, Individual

 Defendants, Bonderman and IQME were able to, and did, control the contents of the various

 reports, press releases and public filings which the Trust and Infinity Q disseminated in the

 marketplace. The Adviser, Individual Defendants, Bonderman, and IQME exercised their power

 and authority to cause the Trust and Infinity Q to engage in the wrongful acts complained of

 herein. The Adviser, Individual Defendants, Bonderman and IQME therefore, were “controlling

 persons” of the Trust and Infinity Q within the meaning of Section 20(a) of the Exchange Act.

 In this capacity, they participated in the unlawful conduct alleged which artificially inflated the

 market price of the Fund’s securities.




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         140.    Each of the Adviser, Individual Defendants, Bonderman and IQME, therefore,

 acted as a controlling person of the Trust and Infinity Q. By reason of their senior management

 positions and/or being directors, and/or their ability to control the Trust and Infinity Q, each of

 the Adviser, Individual Defendants, Bonderman, and IQME had the power to direct the actions

 of, and exercised the same to cause, the Trust and Infinity Q to engage in the unlawful acts and

 conduct complained of herein. Each of the Adviser, Individual Defendants, Bonderman, and

 IQME exercised control over the general operations of the Trust and Infinity Q and possessed the

 power to control the specific activities which comprise the primary violations about which

 Plaintiff complains.

         141.    By reason of the above conduct, the Adviser, Individual Defendants, Bonderman,

 and IQME are liable to Plaintiff pursuant to Section 20(a) of the Exchange Act, in an amount to

 be determined at trial.

                                            COUNT V
    (Violation of § 15 of the Securities Act Against the Adviser, the Individual Defendants,
                           Bonderman, IQME, and the Administrator)

         142.    Plaintiff repeats and realleges each and every allegation set forth above as if fully

 set forth herein.

         143.    For the purpose of this Court, Plaintiff expressly excludes and disclaims any

 allegation that could be construed as alleging fraud or intentional or reckless conduct, as this

 Count is solely based on claims of strict liability and/or negligence under the Securities Act. For

 purposes of asserting this Count, Plaintiff does not allege that defendants acted with scienter or

 fraudulent intent, which are not elements of a §15 claim.

         144.    The Adviser managed and controlled the business affairs of the Diversified Fund

 and was a control person of the Diversified Fund.




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         145.    Each of the Individual Defendants was a control person of the Diversified Fund,

 Trust, and/or Adviser by virtue of their positions as a Director, Trustee, and/or senior officer of

 the Diversified Fund, Trust, or Adviser.

         146.    Bonderman and IQME also were control persons of the Adviser, with each

 owning more than 25% of the Adviser.

         147.    The Administrator was a control person of the Underwriter.

         148.    By reason of such conduct, the defendants named in this Count are liable as

 control persons pursuant to §15 of the Securities Act.

         149.    Each of the defendants named herein was also a culpable participant in the

 violations of §§11 and 12(a)(2) of the Securities Act alleged in Counts I and II above, based on

 their having signed the Registration Statements and/or having otherwise participated in the

 process which allowed the offer and sale of shares of the Diversified Fund to be successfully

 completed.

         150.    By reason of such conduct, the defendants named in this Count are liable to

 Plaintiff who purchased the Diversified Fund during the Relevant Period pursuant to §15 of the

 Securities Act for the damages sustained by Plaintiff as a result of the violations of §§11 and

 12(a)(2) of the Securities Act, in an amount to be determined at trial.

                EXCHANGE ACT COUNTS AND ADDITIONAL ALLEGATIONS

         151.    Plaintiff repeats and realleges each and every allegation set forth above as if fully

 set forth herein.

                        ADDITIONAL ALLEGATIONS OF SCIENTER

         152.    In support of the Exchange Act counts, the following facts support a compelling

 inference that the Trust, the Adviser, the Administrator, the Individual Defendants, the Auditor,




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 and the Funds acted with sufficient scienter at all relevant times. At the very least, these

 defendants knew about (or recklessly disregarded) the manipulation of NAV pricing and/or had

 access to additional facts rendering their public statements materially false or misleading.

 Defendants’ Positions, Awareness and Direct Involvement in the Funds

        153.     The Trust was the issuer of the Diversified Fund and the filer of the Prospectuses,

 and actively controlled the day-to-day operations of the Diversified Fund. The Board was

 comprised of the officers of the Trust, many of whom signed the Prospectuses and all of whom

 exercised control over the Diversified Fund and the Diversified Fund’s marketing efforts.

        154.     Infinity Q was the Adviser to the Diversified Fund during the Relevant Period.

 Infinity Q retained the authority to make all investment decisions for the Diversified Fund, in

 exchange for a monthly management fee.

        155.     Defendant Kashmerick was the Chairman of the Board, as well as the Trust’s

 President and Principal Executive Officer during the Relevant Period. Defendants Chrystal,

 DiUlio, and Resis were trustees of the Board during the Relevant Period. All three signed the

 Prospectuses.

        156.     Defendant Simon and Jensen were officers of the Trust during the Relevant

 Period. Defendant Simon also signed the Prospectuses.

        157.     Defendant Velissaris was a Director of the Adviser during the Relevant Period,

 and until February 20, 2021, was its CIO. According to the government complaints, Velissaris

 also took various steps to conceal his fraud, including: (i) providing falsified swap term sheets to

 Infinity Q’s auditors: (ii) surreptitiously making retroactive changes to Infinity Q’s written

 valuation policy and (iii) creating phony minutes for meetings of Infinity Q’s valuation

 committee that never happened.




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        158.    The SEC complaint alleged:

                By March 2020, when faced with market volatility caused by the
                COVID-19 pandemic, [defendant] Velissaris knew that the Funds
                were poorly positioned for increasing market turmoil and that they
                were at risk of failing. [To buy more time,] Velissaris sought a
                $100 million cash infusion from affiliates of Infinity Q’s partial
                owner [which apparently is defendant Bonderman], but the
                proposed loan was never made. In response and to try to stave off
                the . . . Funds’ failure, Velissaris stepped up his manipulation of
                the valuations of positions held by the . . . Funds, resulting in the
                overvaluation of each of the Funds’ net assets by hundreds of
                millions of dollars. This overvaluation attracted hundreds of
                millions of dollars in additional investments and forestalled
                investor redemptions, all while some funds with similar investment
                strategies struggled or failed.

        159.    Defendants Potter and Lindell were officers of the Adviser during the Relevant

 Period. As trustees, directors, and/or executive officers of the Trust and/or Adviser, the

 Individual Defendants participated in the solicitation and sale of fund shares to investors in the

 Funds for their own benefit and the benefit of Infinity Q. Together, their positions, activities, and

 direct involvement with the day-to-day operations with either or both Funds indicate that they

 knew (or should have known) about the manipulation of NAV pricing and/or had access to

 additional facts rendering their public statements materially false or misleading.

        160.    Moreover, Defendants Velissaris, Potter, Chrystal, DiUlio, Resis, Kashmerick,

 and Simon all signed the Registration Statements of the Diversified Fund. In so doing, they held

 themselves out to the investing public as those persons most knowledgeable about the day-to-day

 operations of the Diversified Fund, including the Fair Value Pricing model.

        161.    Defendant Bancorp was the Administrator for the Volatility Fund, the transfer

 agent for the Diversified Fund, and the parent company of Quasar during the Relevant Period.

 U.S. Bancorp received fees, commissions, and/or profits from the Trust as part of its role as the




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 Administrator for the Volatility Fund. As Administrator, U.S. Bancorp was responsible for the

 computation of performance data, including NAV per share and yield.

         162.    Bancorp provided its own senior employees to serve as the Diversified Fund’s

 officers (including the Fund’s Chief Compliance Officer) and assembled its own group of

 trustees to serve as the Diversified Fund’s Board. The Board had direct statutory responsibility,

 under the ICA, for accurately calculating the value of the Diversified Fund’s securities every

 trading day, and it contracted exclusively with U.S. Bancorp to fulfill that duty on a day-to-day

 basis under the Board’s supervision. And because roughly two thirds of the Diversified Fund’s

 portfolio consisted solely of cash, U.S. Bancorp’s only valuation obligations related to the

 Diversified Fund’s derivative securities, largely swap contracts, which accounted for the other

 third of the portfolio.

         163.    In connection with its valuation duties (as well as its other responsibilities owed

 to the Diversified Fund), Bancorp agreed to be responsible for its own negligence and to

 indemnify the Diversified Fund for any losses incurred as a result. Under the Diversified Fund’s

 Declaration of Trust, the members of the Board also assumed liability for their own actions,

 including their own gross negligence and breaches of the duty of care.

         164.    The SEC complaint alleged:

                 In April 2018, Velissaris edited a draft response for the CCO to
                 send to representatives of the Administrator, who had inquired
                 about Infinity Q’s valuation process. The draft response, after
                 Velissaris’s edits, represented: “Infinity Q does not price any
                 securities ourselves. Prices are either provided by [the Pricing
                 Service] directly to [the Administrator] for non-vanilla OTC
                 instruments or we forward [Pricing Service] values to [the
                 Administrator] for positions not requiring [Pricing Service]
                 valuation.” This response was then sent by the CCO to
                 representatives of the Administrator with Velissaris copied.
                 Representatives of the Administrator replied to the CCO, with
                 Velissaris copied, that the approach was acceptable to them as long



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                  as Infinity Q was “complete and thorough in your summary.” The
                  Administrator further stated that “anything that is not downloaded
                  directly from [the Pricing Service] is adviser priced even if you use
                  models on [the Pricing Service] to complete the valuations. This is
                  due to Infinity Q still having the ability to change inputs or
                  calibrate any of the models.”

           165.   Bancorp as the Administrator was fully aware during the Relevant Period that

 Infinity Q had the “ability to change inputs or calibrate any of the models.”

           166.   Bancorp permitted Infinity Q and Velissaris to select and manipulate the pricing

 models utilized through a pricing service offered by Bloomberg Finance (“Bloomberg”), as well

 as the inputs relied upon by the models to estimate prices, despite Infinity Q’s obvious financial

 incentive to inflate the Fund’s prices to avoid reporting investment losses.

           167.   While Bancorp repeatedly informed the Board throughout the Relevant Period

 that such valuations could be “easily” checked on Bloomberg, it did not independently verify the

 prices.

           168.   Defendant EisnerAmper was the Diversified Funds’ auditor during the Relevant

 Period. EisnerAmper audited and certified the Diversified Fund’s consolidated statement of

 assets and liabilities, which was filed annually with the SEC in the Diversified Fund’s Annual

 Report – stating that EisnerAmper assessed “the risks of material misstatement of the financial

 statements, whether due to error or fraud.” Defendant EisnerAmper also audited and certified the

 consolidated financial statements of assets and liabilities concerning the Volatility Fund.

           169.   According to the derivative complaint, EisnerAmper informed Infinity Q “in an

 August 2020 meeting that, as part of its annual audit review, EisnerAmper would ‘utilize a third-

 party valuation specialist to assist in the review of the valuations of the Fund’s Level 3

 securities,’ and that an area of ‘emphasis’ would be ‘[m]anagement’s judgment in estimating

 valuation related to over-the-counter Level 3 derivatives.’”



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        170.    “However, , the methodology that EisnerAmper utilized for the testing, which was

 ultimately approved by the . . . Audit Committee, was fundamentally flawed for the same reasons

 that U.S. [Bancorp’s] ongoing oversight was deficient and not identifying substantial pricing

 errors.”

        171.    The derivative complaint further alleged:

                EisnerAmper claimed to have “independently tested on a sample
                basis the model utilized in determining the valuation using inputs
                from the instruments term sheets and an implied volatility based on
                an independent broker-quote or recalculation using Bloomberg,” as
                well as the control “whereby the [model] valuations from
                Bloomberg are independently downloaded by U.S. Bancorp Global
                Fund Services (Fund Administrator) and compared to the
                Investment Advisor’s download.”

        172.    As alleged, “EisnerAmper mistakenly relied on the fraudulent B-Val models and

 inputs created by Infinity Q, and did not attempt to truly replicate or independently verify the

 valuations that Infinity Q had been reporting. Indeed, . . . attempting to match Velissaris’s

 extensive modifications to the models and inputs would have immediately revealed the pricing

 misconduct.”

        173.    As a result, EisnerAmper’s review revealed only $4.5 million in pricing

 discrepancies, despite that only a few months later the SEC would reveal that the swap portfolio

 was nearly worthless and the Diversified Fund’s portfolio alone would be marked down by $500

 million.

        174.    EisnerAmper also arranged to have three sample swaps (of more than 150

 contracts) independently tested by an outside valuation specialist. But the sample size was so

 small that, when Velissaris learned of the swaps that EisnerAmper planned to test, he was able to

 fraudulently modify the term sheets so as to change the factors affecting their value and prevent




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 detection. Although Infinity Q personnel had already uploaded the actual term sheets to an online

 portal accessible to EisnerAmper, Velissaris arranged to have them replaced by the altered term

 sheets.

           175.   On information and belief, while EisnerAmper knew that the term sheets had been

 purportedly “updated” by Infinity Q without an explanation of what might have changed about

 the transactions, it made no effort to compare the two versions or otherwise determine why the

 original term sheets had been altered. The position that was tested and purportedly confirmed by

 EisnerAmper’s valuation specialist was valued at over $22 million, but would soon prove to be

 worth less than $5 million. The derivative complaint alleged that “[b]ased on this wholly

 deficient review, EisnerAmper concluded that any pricing discrepancies within the Fund’s

 portfolio were immaterial and that the risk of ‘material misstatement of the valuation of

 derivatives [had] been reduced to an acceptable level.’”

           176.   Together, Bancorp and EisnerAmper represented themselves to the investing

 public as neutral arbiters of the financial health of the Diversified Fund and other Infiniti Q

 Funds. In order to properly perform their respective roles, each was required to have access to,

 understand, and evaluate the financial positions of the Funds, including the NAV. In addition,

 each were compensated for their roles with the Diversified Fund and benefited financially from

 the services rendered and the artificially high NAVs that the Funds fraudulently reported.

           177.   Defendants Bonderman and IQME each owned more than 25% of the Adviser and

 were control persons of the Adviser during the Relevant Period.

           178.   According to a Diversified Fund Prospectus, the Adviser exercised significant

 control over the NAV via fair value pricing. “Fair value pricing is used when market quotations

 are not readily available, the Fund’s pricing service does not provide a valuation (or provides a




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 valuation that in the judgment of the Adviser does not represent the security’s fair value), or

 when, in the judgment of the Adviser, events have rendered the market value unreliable.” Not

 only did the Adviser, and its control persons, have significant opportunity to manipulate the

 valuation in accordance with their “judgment,” the fair value pricing model required the Adviser,

 the Administrator, and the Individual Defendants to closely monitor the valuations being

 returned from the third-party pricing consultant. Each defendant named in this section either

 knew, or should have known, that the values being returned from the pricing service provider did

 not match those reported into the daily NAV, or that the variables being reported to the pricing

 service provider, critical to the underlying basis of the Adviser’s “judgment,” were incorrect.

 Magnitude of the Fraud

        179.    After reporting NAV of approximately $1.7 billion, the Diversified Funds held

 only $1.2 billion in cash following liquidation, confirming that the Diversified Fund NAV had

 been overstated by over $500 million. The enormous scope of the fraud indicates that each of the

 defendants named in this section must have been aware of (or recklessly disregarded) the NAV

 pricing manipulation scheme.

 Governmental Actions

        180.    On February 17, 2022, defendant Velissaris was indicted for securities fraud and

 obstruction of justice for orchestrating a scheme to deceive the Funds’ investors and falsify

 documents. On the same day, both the SEC and the CFTC also charged defendant Velissaris with

 fraud for overvaluing the Funds’ assets by more than $1 billion while pocketing tens of millions

 of dollars in fees. The presence of multiple regulatory actions further bolsters scienter.




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 Infinity Q’s Own Admissions

        181.    In their February 22, 2021 letter to the SEC, Infinity Q stated that “it would not be

 able to calculate a fair value for any of the Swaps in sufficient time to calculate an accurate NAV

 for at least several days.” Further, in an admission of the extent of the fraud, the letter stated

 “that establishing and verifying those alternative methods may take several days or weeks” and

 that “Infinity Q and the Fund are also determining whether the fair values calculated for

 positions other than the Swaps are reliable, and the extent of the impact on historical valuations.”

 Infinity Q has subsequently disclosed in conversations with investors that the investigation

 extends back to at least 2018. The scheme to misstate the Funds’ NAV was not a small or

 isolated action, but an extensive and pervasive one about which each of the defendants named in

 this section either knew or were reckless in not knowing.

 Oversight and Price Check Controls

        182.    According to a Diversified Fund Registration Statement, the Board provided

 reasonable oversight of the Diversified Fund’s NAV calculation. The Valuation Committee of

 the Board was required to ensure that “[s]uch securities are valued at their respective fair values

 as determined in good faith by each Adviser, and the Valuation Committee gathers and reviews

 Fair Valuation Forms that are completed by an Adviser to support its determinations, and which

 are subsequently reviewed and ratified by the Board.” Similarly, Infinity Q and the

 Administrator were tasked with reviewing and ensuring the accuracy of the Funds’ NAV, which

 was purportedly audited by the Auditor. Defendants either failed to employ the valuation

 procedures, policies, and controls as represented to investors, or knowingly misrepresented the

 Funds’ NAV.




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 Motive and Opportunity

         183.    Defendants had the motive and opportunity to commit fraud. Many of the

 defendants were compensated both in fixed retainer fees and based on the performance of the

 Diversified Fund’s NAV. Infinity Q, as the Adviser, was compensated by the Diversified Fund

 with “an investment advisory fee computed daily and payable monthly, based on a rate equal to

 1.70% of the Fund’s average daily net assets.” As an example, for the fiscal year completed

 August 31, 2019, Infinity Q was paid over $8.3 million in advisory fees by the Diversified Fund.

         184.    Infinity Q charged participants in the Diversified Fund a monthly management fee

 equal to 12.5 basis points (or 1.5% on an annual basis) multiplied by the average daily value of

 the participant’s share of the mutual fund’s net assets during the preceding month.

         185.    As a consequence of the fee structures in the Funds, Infinity Q and the Individual

 Defendants all were highly compensated, and such compensation increased with the Funds’

 NAV; first, by the management fee measured by the average daily value, and second with the

 performance fees associated with the profits of the Funds

         186.    The independent trustees were also compensated at a retainer of $43,000 per year

 and a fee of $1,000 per each meeting of the Board attended, as well as for expenses in connection

 with Board meetings.

         187.    Additionally, according to the SEC, Velissaris alone allegedly “collected more

 than $26 million in profit distributions through his fraudulent conduct and without disclosing his

 activities to investors.”

 Additional Indicia of Scienter

         188.    Further indications that defendants, including the Auditor, either were or should

 have been aware of the nature and extent of the fraud is evidenced by how obvious the




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 manipulation scheme was to uncover. As reported by The Wall Street Journal, one reported

 valuation was mathematically impossible, and in another instance, the disclosures show Infinity

 Q entered two nearly identical swap contracts referencing the same index over the same period,

 yet booked a gain on one that was more than three times as large as the other – an outcome

 analysts said defied logic. The nonsensical nature of the valuations further indicate that each of

 the defendants named in this section either knew, or should have known, about the Funds’

 fraudulently calculated NAV.

                                         NO SAFE HARBOR

        189.    The statutory safe harbor and/or bespeaks caution doctrine applicable to forward-

 looking statements under certain circumstances does not apply to any of the false and misleading

 statements pleaded in this complaint.

        190.    First, none of the statements complained of herein was a forward-looking

 statement. Rather they were historical statements, or statements (or omissions) of purportedly

 current facts and conditions at the time the statements were made. Second, the statutory safe

 harbor does not apply to statements included in financial statements which purport to have been

 prepared in accordance with GAAP.

        191.    To the extent any of the false or misleading statements alleged herein can be

 construed as forward-looking, the statements were not accompanied by meaningful cautionary

 language identifying important facts that could cause actual results to differ materially from

 those in the statements. Thus, Infinity Q’s verbal and written “Safe Harbor” warnings

 accompanying its forward-looking statements issued during the Relevant Period were ineffective

 to shield those statements from liability.




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        192.    Defendants are also liable for any false or misleading forward-looking statements

 pleaded because, at the time each forward-looking statement was made, the speaker knew the

 forward-looking statement was false or misleading and the forward-looking statement was

 authorized and/or approved by an executive officer of Infinity Q who knew that the forward-

 looking statement was false.

                 APPLIABILITY OF THE PRESUMPTION OF RELIANCE:
                             FRAUD ON THE MARKET

        193.    Plaintiff will rely, in part, upon the presumption of reliance established by the

 fraud-on-the-market doctrine in that:

        •       defendants made public misrepresentations or failed to disclose material facts
                during the Relevant Period;

        •       the omissions and misrepresentations were material;

        •       the securities of the Funds were traded in an efficient market and were liquid and
                traded with moderate to heavy volume during the Relevant Period;

        •       the securities of the Funds were covered by multiple analysts;

        •       the misrepresentations and omissions alleged would tend to induce a reasonable
                investor to misjudge the value of the securities of the Funds; and

        •       Plaintiff purchased, acquired, and/or sold the securities of the Funds between the
                time defendants failed to disclose or misrepresented material facts and the time
                the true facts were disclosed, without knowledge of the omitted or misrepresented
                facts.

        194.    Based upon the foregoing, Plaintiff is entitled to a presumption of reliance upon

 the integrity of the market.

        195.    Additionally, Plaintiff is entitled to the presumption of reliance established by the

 Supreme Court in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972), as

 defendants omitted material information in their Relevant Period statements in violation of a

 duty to disclose such information, as detailed above.



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        196.    Alternatively, Plaintiff can establish direct reliance because the

 misrepresentations were of fundamental importance to investors in the Funds and no reasonable

 investor would have invested in the Funds at the prices paid, or at all, if they had known the

 truth. The misrepresentations involved the central aspects of the Funds’ value, such as the

 Funds’ NAV and valuation policies and procedures.

        197.    These material misrepresentations were uniformly relied upon by all investors in

 making their respective investment decisions.

                            LOSS CAUSATION/ECONOMIC LOSS

        198.    As a result of defendants’ scheme, the Diversified Fund were overvalued

 throughout the Relevant period. Put simply, the Diversified Fund’s valuation data was false and

 their NAVs—which directly impacted the purchase price of the Funds’ securities—were

 artificially inflated. Accordingly, the Funds’ shares were overvalued and were worth less than

 represented.

        199.    The revelation of the facts and circumstances that defendants had misleadingly

 omitted exposed both defendants’ scheme and the overvaluation from the public. The sharp

 decrease in value to both Funds were directly caused, in part, by revelation of defendants’

 valuation scheme. The revelation of defendants’ scheme revealed that investors had paid more

 for the Funds’ shares than they would have paid but for the scheme. Ultimately, the Funds were

 forced into liquidation. By November 8, 2021, the Diversified Fund completed the liquidation of

 its assets. Although the last reported NAV of the Diversified Fund was approximately $1.7

 billion, the Diversified Fund only held $1.2 billion following liquidation, confirming that the

 NAV had been overstated by over $500 million.




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                                       COUNT VI
                          (Common Law Fraud Against All Defendants)

        200.    Plaintiff repeats and realleges each and every allegation contained in the

 foregoing paragraphs as if fully set forth herein.

        201.    Defendants, individually and in concert, directly or indirectly, disseminated or

 approved the false and misleading statements specified above in the Prospectuses, Annual

 Reports, and other filings, marketing materials and communications to the Plaintiff and other

 investors.

        202.    Defendants acted with scienter in that they knew that the public documents and

 statements issued or disseminated in the name of the Trust were materially false and misleading;

 knew that such statements or documents would be issued or disseminated to the investing public,

 including Oak Financial; and knowingly and substantially participated, or acquiesced in the

 issuance or dissemination of such statements or documents. These defendants, by virtue of their

 receipt of information reflecting the true facts of the Fund, their control over, and/or receipt

 and/or modification of the Trust’s allegedly materially misleading statements, and/or their

 associations with the Fund which made them privy to confidential proprietary information

 concerning the Fund, participated in the fraudulent scheme alleged herein.

        203.    Individual Defendants, who are the senior officers and/or directors, had actual

 knowledge of the material omissions and/or the falsity of the material statements set forth above,

 and intended to deceive Oak Financial and other investors, or, in the alternative, acted with

 reckless disregard for the truth when they failed to ascertain and disclose the true facts in the

 statements made by them or other personnel to members of the investing public, including Oak

 Financial.




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        204.    As a result of the foregoing, the market price of the Fund’s securities was

 artificially inflated during the relevant time period that Oak Financial purchased shares on behalf

 of the Account Holders. Oak Financial relied on the statements described above and/or the

 integrity of the market price of the Fund’s securities during the relevant time period in

 purchasing the Fund’s securities on behalf of the Account Holders at prices that were artificially

 inflated as a result of the false and misleading statements of the defendants.

        205.    Had Oak Financial been aware that the market price of the Fund’s securities had

 been artificially and falsely inflated by the defendants’ misleading statements and by the material

 adverse information which the defendants did not disclose and that the Fund was not going to

 follow the valuation procedures which it represented would be utilized, it would not have

 purchased the Fund’s securities on behalf of the Account Holders at the artificially inflated prices

 that they did, or at all, and would not have retained such securities.

        206.    As a result of the fraudulent conduct alleged herein, Oak Financial and the

 Account Holders have suffered damages in an amount to be established at trial.

        207.    By reason of the foregoing, the defendants are liable to Oak Financial for the

 substantial damages which were suffered in connection with its purchases of the Fund’s

 securities on behalf of the Account Holders.




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        WHEREFORE, Plaintiff demands judgment against defendants as follows:

        a)      Awarding compensatory damages in favor of Plaintiff against all Defendants,

 jointly and severally, for all damages sustained as a result of Defendants’ wrongdoing, in an

 amount to be proven at trial, including interest thereon;

        b)      Awarding Plaintiff its reasonable costs and expenses incurred in this action,

 including counsel fees and expert fees;

        c)      Awarding rescission or a rescissory measure of damages; and

        d)      Awarding such other and further relief as this Court may deem just and proper.

                                           JURY DEMAND

        Plaintiff demands a trial by jury on all claims and defenses so triable.

 Dated: New York, New York
        August 26, 2022
                                               ROSENFELD & KAPLAN, LLP




                                       By:
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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on August 26, 2022, a true and correct copy of the

 foregoing document was electronically filed with the Clerk of Court using the CM/ECF system,

 which sends notifications of such filing to all counsel of record.




                                                               Steven M. Kaplan (SK-4228)




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